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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiffs,                             4:18CR3126

      vs.
                                                             ORDER
RODRIGO BOLANOS,

                  Defendants.


      Defendant Bolanos has moved to continue the trial, (Filing No. 47),
because the parties are currently engaged in plea discussions. The motion to
continue is unopposed. Based on the showing set forth in the motion, the court
finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant’s motion to continue, (Filing No. 47), is granted.

      2)    As to all defendants, the trial of this case is set to commence before
            the Honorable John M. Gerrard, United States District Judge, in
            Courtroom 1, 100 Centennial Mall North, United States Courthouse,
            Lincoln, Nebraska, at 9:00 a.m. on April 8, 2019, or as soon
            thereafter as the case may be called, for a duration of ten (10) trial
            days. Jury selection will be held at commencement of trial.

      3)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and as to all defendants, the additional time arising as a result
            of the granting of the motion, the time between today’s date and
            April 8, 2019, shall be deemed excludable time in any computation
            of time under the requirements of the Speedy Trial Act, because
            although counsel have been duly diligent, additional time is needed
            to adequately prepare this case for trial and failing to grant additional
            time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1),
            (h)(6) & (h)(7). Failing to timely object to this order as provided under
            this court’s local rules will be deemed a waiver of any right to later
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          claim the time should not have been excluded under the Speedy
          Trial Act.

    Dated this 12th day of February, 2019.

                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United States Magistrate Judge




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